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1    CANDACE A. FRY
     CA Bar No. 68910
2    2401 Capitol Avenue
3    Sacramento, CA 95816
     Telephone: 916.446.9322
4    FAX: 916.446.0770
     E mail: c.fry@att.net
5
     Attorney for HUNG QUE TRAN,
6    Defendant
7
                            IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                  No. 2:96-CR-350-07 WBS
11

12                    Plaintiff,

           v.                                    ORDER
13

14   HUNG QUE TRAN,

15                    Defendant.

16

17         The Court having read and considered the requests filed herein by defendant

18   Hung Que Tran on July 7, 2015, and good cause having been shown therefor, IT IS

19   HEREBY ORDERED:

20         1. This Court’s previous order of July 6, 2015, directing the Federal Defender’s

21              Office obtain new counsel for the defendant is withdrawn; and

22         2. A judgment and sentencing hearing shall be calendared for July 13, 2015, at

23              9:30 a.m.

24   Dated: July 7, 2015
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